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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION




UNITED STATES OF AMERICA                  )
             Plaintiff,                   )
                                          )      No. 15 CR 515
                                          )
                                          )
                                                      Honorable John Z. Lee
ALBERT ROSSINI
             Defendant.



MOTION FOR COUNSEL’S WITHDRAWAL AND THE APPOINTMENT OF NEW
COUNSEL FOR ROSSINI’S BASED ON ROSSINI FILED MAY/JUNE 2021 LETTERS



 NOW COMES, ATTORNEY CLARENCE BUTLER JR., OF THE LAW OFFICE OF

CLARENCE BUTLER JR., DEFENSE COUNSEL FOR ALBERT ROSSINI respectfully

hereby submits to this HONORABLE COURT, Motion For Counsel’s Withdrawal And The

Appointment Of New Counsel For Rossini’s Based On Rossini Filed May/June 2021 Letters.

 Defendant Rossini has adopted an antagonistic and adversarial relationship with counsel that

has created an irreconcilable conflict rendering the attorney-client relationship irretrievably



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severed and incapable of reconciliation and rehabilitation. Rossini’s latest letter submissions to

the court in May and June 2021 are neither complete or correct. Counsel has attempted to avoid

responding to Rossini’s submissions to the court, but has no alternative and is compelled to do so

on a limited basis considering the totality of circumstances. Counsel has contemplated case

factual, legal, strategical, and tactical issues, given Rossini mandates and directives in light of the

totality of circumstances. Specifically, considering counsel’s post trial/pre-sentence appointment,

and balancing client Rossini mandates, with efficacy and ethical considerations, counsel has

concluded that counsel is compelled to withdraw.

 In an effort of last resort, as well as a final attempt to reconcile and rehabilitate the attorney

client relationship, counsel had independent counsel meet with Rossini on Friday, May 14, 2021.

It should be noted that this arrangement was scheduled prior to counsel being made aware of

Rossini’s filed letter with this court in May 2021. Independent counsel was engaged by counsel

to assess contradictory mandates, ethical and efficacy considerations relative to proceeding in

accordance with professional responsibility obligations, in light of the ongoing vicissitudes of

Rossini demands.

  First, counsel will address Rossini‘s letters, by noting that if there have been any delays

relative to this matter, it is significantly attributable to counsel’s review and consideration of the

efficacy of Rossini’s demand submissions. Consideration of Rossini's demands, and discussions

with the government relative to their positions as it relates to said demands inter alia,, is not

dilatory or an abdication of counsel’s professional responsibility. In fact, Rossini has never

wanted counsel to represent him and has maintained that posture throughout. Furthermore,

Rossini has advised the court in his letters that he does not want to be represented by counsel or

anyone associated with counsel’s firm.

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  Rossini stated in both his May and June letters to the court that counsel made reference to his

tenure as a former Assistant United States Attorney for 15 years, as an attempt to endear Rossini.

The only reason counsel raised the reference was in response to unwarranted competency

questions and challenges concerning counsel. Counsel does not need to responsively dignify,

nor is there a need for Rossini’s endearment, however to place Rossini’s letters in the proper

perspective, counsel’s experience in summary is as follows:

Counsel has over 34 years of trial litigation experience. Counsel’s practice involves trial

representation in all phases of trial litigation, focusing on federal, state, civil, criminal and trial

litigation. Counsel served as a Federal Prosecutor for 15 years, as an Assistant United States

Attorney with the United States Department of Justice. During counsel’s tenure, he served as

both Organized Crime Drug Enforcement Task Force and Triggerlock Coordinators.

Additionally, counsel has experience in a wide range of criminal prosecutions and federal

litigation experience in United States District Courts throughout the nation. The United States

Attorney General presented counsel with the Executive Office United States Attorneys

Director’s Award (Exhibit A) and throughout counsel’s career he has been the recipient of

numerous other awards.

  The Executive Office for the United States Attorneys appointed counsel Special Attorney to

the United States Attorney General on three separate occasions involving the Northern District of

Illinois, the Eastern District of Wisconsin and the District of Arizona. Counsel is an active and

inactive members of the Illinois, District of Columbia, Georgia and United States Supreme

Court Bar Associations. Counsel has also been admitted to the United States District Courts for

the Northern District of Illinois, Northern District of Indiana, and the Eastern District of

Wisconsin. Counsel’s defense litigation experience includes private practice, as well as prior

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positions as a Public Defender in the Felony Trial Division of the Chicago Office of the Cook

County Public Defender and as private counsel in Washington.

 Rossini does not want counsel to represent him in this matter and counsel believes no amount

of experience or qualifications would inspire Rossini’s confidence. The above submission

demonstrates the irretrievable nature of the attorney client relationship, as there is no amount of

experience counsel could further possess that would inspire Rossini’s confidence. Counsel had

repeated discussions with Assistant United States Attorney John Mitchell in pursuit and

consideration regarding Rossini objectives, contemplated assessments and proposals. Upon

counsel’s appointment counsel had discussions with his predecessor counsel in this case,

preeminent attorney professor Richard Kling regarding Rossini’s case. Professor Kling has over

40 years of experience and is an esteemed member of the profession. It should be noted that

Rossini in his May and June letters to the court, attempted to disparage and impugn the integrity

of his prior counsels.

 Accordingly, counsel hereby moves that Rossini’s request for counsel’s withdrawal be granted.

Rossini has adamantly expressed and manifested an unwillingness to cooperate with counsel.

Furthermore, compelling counsel to continue as Rossini’s attorney will exacerbate the present

situation, effectuate and orchestrate further delays, unfortunately consistently emblematic with

the procession of attorneys, despite counsel’s good faith efforts. The attorney client relationship

between counsel and Rozzini has irretrievably broken down and counsel hereby request that new

counsel be appointed for Rossini. Counsel incorporates his prior motion in response to a previous

incomplete and incorrect submission by Rossini.




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DEFENSE COUNSEL’S RESPONSE TO ROSSINI’S FILED March 15, 2021 LETTER


Counsel was appointed pursuant to the CJA/Panel provisions on October 9, 2020. Counsel

previously advised This Honorable Court that counsel reviewed four boxes of discovery in this

case as documented in the attached Exhibit 1 photograph. Counsel traveled to Professor Attorney

Richard Kling’s office and obtained the 4 boxes of material and subsequently engaged in

conversations with Professor Kling relative to issues in this case. Counsel sent a United States

Certified Mail Letter #7018 1830 0000 0348 9855 to Rossini that was signed documenting

delivery on November 27, 2020. Counsel has had subsequent conversation with Professor Kling

relative to the Rossini case. In addition, counsel has had ongoing discussions with Assistant

United States Attorney John Mitchell relative to this matter throughout his appointment. In fact,

counsel had discussions with AUSA Mitchell as recent as Friday, March 11, 2021 relative to the

Rossini case. All aforementioned discussions were in furtherance of achieving Rossini’s

objectives.

  It should be noted that after the extensive process of reviewing the four boxes of tendered

discovery in the Rossini case, counsel received subsequent communications from Rossini in

December 2020, January 2021 and March 2021 all instructing counsel relative to courses of

action and objectives Rossini wanted relative to this case. (Exhibit 2, 3) The December

correspondence was approximately 90 pages. The January 2021 correspondence was over 100

pages. These considerations took additional time relative to their efficacy, consistent with

protective order considerations and re-examination of the materials associated with the previous


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tendered four boxes of discovery. Rossini requesting additional objectives and instructions

requiring defense counsel's consideration, in reviewing its efficacy, as well as determinations in

counsel’s experience, as to whether government counsel in light of reasonable prosecutorial

discretion and accountability to supervisory chain autonomy, would be amenable to acceptance

of Rossini objectives, in light of guideline relevant conduct, role, and other considerations took

considerable time. Rossini cannot issue new request and additional objectives and then expect an

expedited responsive resolution. Counsel further advised this Honorable Court during the

January13, 2021, Status Hearing, Docket Number 669, attached herein as Exhibit 4, wherein said

Minute entry before this Honorable Court reflects the following:

“Defense counsel reports that he has reviewed the discovery provided by the government and

that Mr. Rossini had provided him with additional documents that need to be reviewed. The

sentencing hearing is set forth April 16, 2021 at 11:00 AM. Defendant’s sentencing

memorandum and objections to the report are to be filed by April 2, 2021.”

 Accordingly based on the totality of circumstances, both the sentencing hearing scheduled for

April 16, 2021 and Rossini’s sentencing memorandum and objections should be continued for a

period of at least 90 days, as subsequent to the January 13, 2021 Status Hearing, counsel

received additional correspondence from Rossini in March 2021.

 Counsel reached out to AUSA Mitchell, attempting to explore and exhaust possible

concessions, agreements, resolution and other alternative proposed remedies to preclude

litigating contested sentencing issues, that may possibly have adverse litigating consequences.

Counsel having been a former 15- year veteran Assistant United States Attorney, believed that

strategically, it would be advantageous for Rossini to limit his potential sentencing exposure, as

counsel was appointed at the sentencing stage for sentencing purposes. The government and

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defense counsel engaged in good faith discussion and counsel has advocated for Rossini’s

objectives and considerations, tactically and preliminarily with the government. However, said

discussions in light of respective adversarial positions, have not resulted in the fulfillment of

Rossini’s objectives, although the government and defense respectfully engaged in considered

discussions.

 The government in exercising their good faith prerogative rejected defense counsel’s

proposals. In short, the government is not going to agree to defense objectives. Given the prior

procession of defense counsels and resulting ineffective assistance allegations, counsel in a good

faith effort attempted to ethically tactically exhaust efforts to effectuate agreement or

modifications relative to guideline sentencing issues, rather than to focus on issues inconsistent

with the canons of professional responsibility. Reaching an accord on sentencing guideline

exposure is more advantageous and efficacious, than rather opening a Pandora’s Box, relative to

exacerbating issues that may evolve into unnecessary issues, at this stage and result in heavily

contested sentencing issues that possibly will be more adversely impactful to Rossini. Counsel

has scheduled and received confirmation of a requested telephone interview with Rossini on

Thursday, March 17, 2021.( Exhibit 5)

  In Rossini’s letter dated March 1, 2020, received March 8, 2021, he requested that counsel

request a continuance of the sentencing. Consistent with that objective counsel discussed the

matter with the government to determine if the government would agree with the continuance

before submitting the request to this Honorable Court. AUSA Mitchell and counsel discussed

the issue regarding a continuance among others, recently on Friday, March 12, 2021, prior to

counsel receiving either knowledge or notification of Rossini's Monday, March 15, 2021 filed

letter submission to this Honorable Court. Separate and apart from the grounds under which

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Rossini desires a continuance, alleging a lack of preparedness, there are separate grounds that

counsel discussed with AUSA Mitchell on Friday, March 12, 2021. Counsel has a 2016 multi-

defendant RICO conspiracy case that is firmly set to proceed on April 5, 2021 before the

Honorable Chief Judge Pallmeyer, USA v. Pierre Paolo Gennell 16 CR 462-1. Gennell is the

lead and remaining defendant, as the case is firmly set for trial, and is scheduled to take 6 to 8

weeks. A realistic perspective is that counsel believes that the case will proceed for

approximately eight weeks given the voluminous discovery in this multi-defendant RICO case.

  Counsel was added as additional appointed CJA/Panel counsel in the Gennell case in

September 2020, due to continuity of counsel concerns evolving from the global Covid-19

pandemic. AUSA Mitchell advised that he could not agree to a continuance, but recognized

Rossini’s Sixth Amendment right to effective assistance of counsel and acknowledged his

awareness of the pending Gennell trial, but as an advocate for the victims and the age of the

Rossini case, indicated that he would defer to this Honorable Court.

  Given that the Rossini sentencing case conflicts with the Gennell trial, counsel consistent with

Rossini's request, seeks a continuance. Given the complexity of the Gennell RICO case and the

complexity of Rossini’s Sentencing Hearing, including the voluminous material involved in both

case, counsel request that the sentencing hearing be continued for a period of 90 days. This will

provide Rossini and counsel an opportunity to resolve any issues going forward. Accordingly,

counsel has a telephone conference legal call scheduled with Rossini on Wednesday, March 17,

2021 (Exhibit 5) that should further help alleviate any issues going forward, as continuance of

this matter will not result in prejudice to either the government or Rossini and is consistent with

the best interest of justice.

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 WHEREFORE Based On The Foregoing given the totality of circumstances, defense counsel

hereby request Rossini’s motion seeking counsel’s withdrawal be hereby granted.



Respectfully submitted,
s/Clarence Butler Jr.
Clarence Butler Jr.
Attorney-at-Law




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